                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


 JARED MODE, on behalf of himself and all
 others similarly situated,

                          Plaintiffs,
                                                               No. 3:18-cv-00150-KDB-DSC
         v.

 S-L DISTRIBUTION COMPANY LLC,
 S-L DISTRIBUTION COMPANY INC. and
 S-L ROUTES LLC,

                          Defendants.

                                              ORDER

       THIS MATTER comes before the Court on S-L’s Unopposed Motion to Compel Sample

Opt-In Plaintiffs’ Discovery Responses (document #547). S-L seeks an order compelling

discovery responses and dismissing the claims of any Plaintiff who fails to serve responses. S-L

agrees to dismiss with prejudice its Counterclaim and Third-Party Complaint against any Plaintiff

and his or her corporate entity that is dismissed for failure to serve responses.

       The Court GRANTS THE MOTION IN PART and ORDERS as follows:

       (a) Opt-In Plaintiffs identified in Exhibit A to the Motion shall produce written discovery

              responses and documents responsive to S-L’s Interrogatories and Requests for

              Production within thirty days of this Order;

       (b) Opt-In Plaintiffs identified in Exhibit B to the Motion shall produce documents

              responsive to S-L’s Requests for Production within thirty days of this Order;




      Case 3:18-cv-00150-KDB-DSC Document 549 Filed 08/03/20 Page 1 of 2
 (c) Opt-In Plaintiffs are warned that failure to comply with this Order and fully respond to

    these discovery requests may result in their claims being DISMISSED WITH

    PREJUDICE.

 (d) Following expiration of the thirty-day response period, S-L may submit a motion to

    dismiss all claims brought by and asserted against any Plaintiff who did not fully

    comply with this Order.


 SO ORDERED.
                                Signed: August 3, 2020




                                          2

Case 3:18-cv-00150-KDB-DSC Document 549 Filed 08/03/20 Page 2 of 2
